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 3
     Attorneys for Defendant
 4
     Stanislov Carpenco
 5
 6                         IN THE UNITED STATES DISTRICT COURT
 7                      FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9                                               ) Case No.: 2:15 CR 197 MCE
     UNITED STATES OF AMERICA,                   )
10                                               ) STIPULATION AND ORDER
                    Plaintiff,                   ) CONTINUING STATUS CONFERNCE
11                                               )
            v.                                   )
12                                               )
     STANISLOV CARPENCO,                         )
13                                               )
                    Defendant.                   )
14
15
            It is hereby stipulated between the parties, Paul Hemesath, Assistant United States
16
17   Attorney, Ben Galloway, attorney for Marina Dushenko, and Michael Chastaine, attorney

18   for Stanislov Carpenco, that the status conference date of Thursday, December 17, 2015
19
     should be continued until Thursday, January 28, 2016. The continuance is necessary in
20
     that the Government is still releasing discovery and the defense needs additional time to
21
22   review the discovery and go over it with their respective clients.
23
            IT IS STIPULATED that the period of time from the December 17, 2015 up to
24
     and including January 28, 2016 be excluded in computing the time within which the trial
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26   must commence under the Speedy Trial Act, pursuant to 18 U.S.C. §3161(h)(7) and
27   Local Code T4, for ongoing preparation of counsel. It is further stipulated that the need
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     for a continuance and continued counsel preparation outweighs the interests of the public
 1
 2   and the defendant in a speedy trial.
 3
     .
 4
     Dated: December 10, 2015                   By: ____/s/ Michael Chastaine
 5
                                                      MICHAEL CHASTAINE
 6                                                    Attorney for Stanislov Carpenco
 7
     Dated: December 10, 2015                   By: ____/s/ Ben Galloway
 8                                                    BEN GALLOWAY
 9                                                    Attorney for Marina Dushenko
10   Dated: December 10, 20145                          BENJAMIN B. WAGNER
11                                                      United States Attorney
12                                                      By: /s/ Paul Hemesath___
13                                                      PAUL HEMESATH
                                                        Assistant U.S. Attorney
14
                                                ORDER
15
            Good cause appearing, in that it is the stipulation of the parties, it is hereby
16
     ordered that the status conference scheduled for Thursday, December 17, 2015 at 9:00
17
     a.m. is continued to Thursday, January 28, 2016 at 9:00 a.m. and the period from
18
     December 17, 2015 to January 28, 2016 is excluded from calculation under the Speedy
19
     Trial Act pursuant to 18 U.S.C. §3161(h)(8)(A) and local rule T4. Further, that the need
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     for a continuance and continued counsel preparation outweighs the interests of the public
21
     and the defendant in a speedy trial.
22
            IT IS SO ORDERED.
23
24   Dated: December 15, 2015

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